                        Case 2:21-cr-00177-NIQA Document 26 Filed 12/02/21 Page 1 of 6
AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet I



                                           UNITED STATES DISTRICT COURT
                                                        Eastern District of Pennsylvania
                                                                           )
               UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                   V.                                      )
               SERGIO URIOSTEGUI-GOMEZ                                     )
                                                                                   Case Number: DPAE2:21CR000177-01
                                                                           )
                                                                           )       USMNumber: 33061-059
                                                                           )
                                                                           )        Nino V. Tinari, Esquire
                                                                           )       Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)            ONE
                                    ----=-----------------------------------
• pleaded nolo contendere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended
8:1326(a},(b}(1)                   Reentry after deportation                                                  3/31/2021




       The defendant is sentenced as provided in pages 2 through          _ _6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of I 984.
D The defendant has been found not guilty on count(s)

•   Count(s)
               -------------
                                                        Dis        Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                          12/2/2021
                                                                         Date oflmposition of Judgment


                                                                                Isl Nitz.a I. Quinones Alejandro, USDC, J.
                                                                         Signature of Judge




                                                                          Nitza I. Quinones Alejandro, J., U.S.D.C, Eastern District of PA
                                                                         Name and Title of Judge


                                                                                   ])re. !A,        ;lOJ. /
                                                                         Date
                        Case 2:21-cr-00177-NIQA Document 26 Filed 12/02/21 Page 2 of 6
AO 245B (Rev. 09/ 19) Judgment in Criminal Case
                      Sheet 2 - lmpri sonment

                                                                                                   Judgment -   Page   2    of   6
 DEFENDANT: SERGIO URIOSTEGUI-GOMEZ
 CASE NUMBER: DPAE2:21CR000177-01

                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
 10 MONTHS on count one in the information.




      D The court makes the following recommendations to the Bureau of Prisons:




     Ill   The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D at                                   D a.m.     D p.m.        on

           D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows :




           Defendant delivered on                                                      to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                         By - - - - - - - - - - - - - - - - - - - - - - -
                                                                                            DEPUTY UNITED ST ATES MARSHAL
                          Case 2:21-cr-00177-NIQA Document 26 Filed 12/02/21 Page 3 of 6
 AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                         Sheet 3 - Supervised Release
                                                                                                          Judgment-Page _   _ _ of    - --=---- -
 DEFENDANT: SERGIO URIOSTEGUI-GOMEZ
 CASE NUMBER: DPAE2:21CR000177-01
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, you will be on supervised release for a term of:

     ONE (1) YEAR.

     Within 72 hours of release from the custody of the bureau of Prisons or ICE, the defendant shall report in person to the
     probation office in the district to which the defendant is released.

     While on supervised release, the defendant shall not commit another federal, state, or local crime, shall be prohibited from
     possessing a firearm or other dangerous device, shall not possess an illegal controlled substance and shall comply with the
     other standard conditions that have been adopted by this Court. Since the defendant will likely be deported, he is excused
     from the mandatory drug testing provision; however, the defendant may be requested to submit to drug testing during the
     period of supervision if the probation officer determines a risk of substance abuse. The defendant shall cooperate in the
     collection of DNA as directed by the probation officer.

     In addition, the defendant shall comply with the following special conditions:

        The defendant shall cooperate with Immigration and Customs Enforcement to resolve any problems with the defendant's
     status in the United States. The defendant shall provide truthful information and abide by the rules and regulations of the
     Bureau of Immigration and Customs Enforcement. If deported, the defendant shall not re-enter the United States without
     the written permission of the Attorney General. If the defendant re-enters the United States, the defendant shall report in
     person to the nearest U.S. Probation Office within 48 hours.


 The Court finds that the defendant does not have the ability to pay a fine. The Court will waive the fine in this case.

 It is further ordered that the defendant shall pay to the United States a total special assessment of $100, which shall be due
 immediately.




                                                        MANDATORY CONDITIONS
I.      You must not commit another federal , state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. (check if applicable)
4.       D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
5.       ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                         Case 2:21-cr-00177-NIQA Document 26 Filed 12/02/21 Page 4 of 6
 AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                         Sheet 3A - Supervised Release
                                                                                                 Judgment-Page - - ~ - - of - - - ~ - -
 DEFENDANT: SERGIO URIOSTEGUI-GOMEZ
 CASE NUMBER: DPAE2:21CR000177-01

                                         STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
        release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
        frame.
 2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
        when you must report to the probation officer, and you must report to the probation officer as instructed.
3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
        court or the probation officer.
4.      You must answer truthfully the questions asked by your probation officer.
5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
        arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least I 0
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. lfyou know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     lfyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13 .   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 ------------
AO 245B (Rev. 09/19)    Case 2:21-cr-00177-NIQA
                       Judgment in a Criminal Case                   Document 26 Filed 12/02/21 Page 5 of 6
                       Sheet 5 -   Criminal Mo netary Penalties
                                                                                                             Judgment- Page        5    of       6
 DEFENDANT: SERGIO URIOSTEGUI-GOMEZ
 CASE NUMBER: DPAE2:21CR000177-01
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                 Restitution                  Fine                   AV AA Assessment*            JVT A Assessment**
 TOTALS           $    100.00                 $                            $                      $                            $



 D The determination of restitution is deferred until - - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned .l?ayment, unless specified otherwise in
     the priorit)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                     Total Loss***                  Restitution Ordered         Priority or Percentage




TOTALS                                $
                                          ----------
                                                                   0 .00              $                     0.00
                                                                                          ----------

D     Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 I 2(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the                 D fine        D restitution .
     D the interest requirement for the              D fine        D restitution is modified as follows:

* Amy, Vicky, ~d Andy Child Pomograph_y Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for v ictims of Trafficking A.ct of2015 , Pub. L. No. 114-22.
*** Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on
or after September 13 , 1994, but before April 23 , 1996.
AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                          Case 2:21-cr-00177-NIQA Document 26 Filed 12/02/21 Page 6 of 6
                        Sheet 6 - Schedul e of Payments

                                                                                                                 Judgment - Page   - ~6-      of
 DEFENDANT: SERGIO URIOSTEGUI-GOMEZ
 CASE NUMBER: DPAE2:21CR000177-01

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      D Lwnp swn payment of$                                    due immediately, balance due

            D      not later than                                     , or
            D      in accordance with D C,            D D,       D     E, or      D F below; or
B     D     Payment to begin immediately (may be combined with                 D C,        D D, or       D F below); or

C     D Payment in equal            ___               (e.g., weekly, monthly, quarterly) installments of $                 _ over a period of
                            (e.g., months or years), to commence                 _      (e.g. , 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal         _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                            (e.g. , months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     •     Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant ' s ability to pay at that time ; or

F     ~     Special instructions regarding the payment of criminal monetary penalties:
             THE DEFENDANT IS ORDERED TO PAY TO THE UNITED STATES A SPECIAL ASSESSMENT IN THE
             AMOUNT OF $100.00, WHICH SHALL BE DUE IMMEDIATELY.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federa l Bureau of Prisons ' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                       Joint and Several                 Corresponding Payee,
      (including defendant number)                          Total Amount                          Amount                           if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfei t the defendant' s interest in the following property to the United States:




PaYJ!lents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5J fine principal, (o) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
prosecut10n and court costs.
